         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                        CRIMINAL NO. 1:00CR9


UNITED STATES OF AMERICA                 )
                                         )
                                         )
           VS.                           )             ORDER
                                         )
                                         )
DAVID FRANKLIN RUTHERFORD                )
                                         )


     THIS MATTER is before the Court on motion of Defendant’s counsel

for an order releasing copies of the Defendant’s presentence report and

any objections or addendums filed therewith.

     For the reasons set forth in the motion,

     IT IS, THEREFORE, ORDERED that counsel’s motion for a copy of

the Defendant’s presentence report and related documents is ALLOWED.

The United States Probation Office is hereby authorized to make available

these documents to counsel forthwith.

                                     Signed: June 1, 2009




   Case 1:00-cr-00009-MR-DLH   Document 764     Filed 06/02/09   Page 1 of 1
